      Case 6:09-cr-00041-JRH-CLR Document 65 Filed 05/20/09 Page 1 of 2


                                                           U.S. LSTRWT COURT
                  IN THE UNITED STATES DISTRICT COURT                 OW.
                 FOR THE SOUTHERN DISTRICT OF GEORGLeL(IH) ?iftV  t
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                                                                 2u Pl
                          STATESBORO DIVISION

                                                         CLERK
UNITED STATES OF AMERICA       )          CASE NO. CR609-41 SO.   1010^F -GA.
                               )
     V.                        )
                               )          VIO: 21 U.S.C. § 846
INEZ MEYON ROUNTREE, aka       )                CONSPIRACY TO DISTRIBUTE
     INEZ SCOTT                )                CONTROLLED SUBSTANCES
     INEZ WILLIAMS             )
     "BABY GIRL"               )               21 U.S.C. § 841(a)(1), 860
                               )               DISTRIBUTION AND
and                            )               POSSESSION WITH INTENT
                               )               TO DISTRIBUTE
JONATHAN LUTHER JONES, aka     )               CONTROLLED SUBSTANCES
     "BLACK DOG"               )
                               )               18 U.S.C. § 922(g)(1)
and                            )               POSSESSION OF FIREARMS
                               )               BY CONVICTED FELON
JARVIS FERNANDO WASHINGTON, aka)
                               )               18 U.S.C. § 922(a)(1)(A)
     "P-TOWN"                  )               UNLICENSED DEALING IN
                               )               FIREARMS
and                            )
                               )               18 U.S.C. § 922(k)
BRITTANY CARSECA REEVES        )               POSSESSION OF FIREARM
                               )               WITH OBLITERATED SERIAL
and                            )               NUMBER
                               )
KENNEDY LEROY SCOTT, JR.       )               18 U.S.C. § 922(q)(2)(A)
                               )               POSSESSION OF FIREARMS
and                            )               IN SCHOOL ZONE
                               )
DONTAE CARTAVIS ROUNDTREE, aka)                18 U.S.C. § 1035
                                               FALSE STATEMENTS
                                      )        RELATING TO HEALTH CARE
and                                   )        MATTERS
                                      )
JOHNATHAN LAMAR JONES, aka            )
                                      )
       Case 6:09-cr-00041-JRH-CLR Document 65 Filed 05/20/09 Page 2 of 2




                                    ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed hereon, the United States Attorney for the Southern District of Georgia hereby

dismisses, with prejudice, defendant JOHNATHAN LAMAR JONES, from the indictment

herein, said dismissal being in the interests of justice, The Government respectfully requests that

all charges against the remaining defendants remain pending.

                                              Respectfully submitted,

                                              EDMUND A. BOOTU, JR.
                                              UNITED STATAI dTORNEY



                                              Jañes D. Durham
                                              Assistant United States Attorney
                                              Georgia Bar No. 235515



                                       ,        meron Heaps Ippolito
                                              Assistant United States Attorney
                                              Virginia Bar No. 35831

       Leave of court is granted for the filing of the foregoing dismissal, with prejudicof

defendant JOHNATHAN LAMAR JONES, from Indictment No. CR609-4 1.                       •c.             ,
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                                 oil
       So ORDERED, this                day of May, 2009.




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                                              HONORABLE G.R. SMITH
                                              MAGISTRATE JUDGE
                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF GEORGIA


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